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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 18-CR~60228-B100m

UNITED STATES OF AMERICA
v.
BASLER KANTONALBANK,

Defendant.

 

JOINT MOTION FOR APPROVAL OF THE DEFERRED PROSECUTION
AGREEMENT AND EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT

The United States of iAmerica, by and through undersigned counsel, and defendant Basler
Kantonalbanl<, by its attorneys, hereby move this Court for the entry of an Order approving the
attached Deferred Prosecution Agreement and for the exclusion of time within-which any trial
must be commenced upon the charge contained \in the lnformation filed against Basler
Kantonalbank, pursuant to Title 18, United States Code, Section 3161(h)(2) of the Speedy Trial
Act.

1. On August 28, 2018, the United States and Basler Kantonalbank entered into a written
Deferred Prosecution Agreement (“the Agreement”), a true, correct, and complete copy of which
is attached hereto and incorporated by reference herein as Exhibit l. The purpose of the Agreement
is to allow Basler Kantonalbank to demonstrate its good conduct.

2. In paragraph l of the Agreement, Basler Kantonalbank agreed to consent to the filing of
an lnfo'rmation in this Court charging it with conspiring to defraud the United States, in violation

of Title lS, United States Code, Section 371. A copy of the Waiver of Indictment is attached hereto

as Exhibit 2.

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3. On August 22, 2018, the United States filed with the clerk of this Court an Information
charging Basler Kantonalbank with conspiring to defraud the United States and to
commit violations of 26 U.S.C. §§ 7206(1) and 7201. As described in more detail in
the Ag-reement, Basler Kantonalbank has agreed: (a) to acknowledge responsibility for
its actions; (b) cooperate with the United States; and (c) pay $60,400,000.

4. The United States respectfully recommends to this Court, pursuant to Title 18, United
States Code, Section 3161(h)(2), that it approve the Agreement and that prosecution of
Basler Kantonalbank on the Information be deferred for a period of the longer of three
years from the date of the signing of the Agreement, but not longer than four (4) years,
as set forth in paragraphs 19 and 21 of the Agreement (“Duration of the Agreement”).

5. Basler Kantonalbank hereby joins in and consents to this motion and does not oppose
a continuance of all further proceedings, including initial appearance and trial, for the
Duration of the Agreement, for speedy trial exclusion of all time covered by such a
continuance, and for approval by the Court of this deferred prosecution

6. Basler Kantonalbank hereby agrees to waive and does hereby expressly waive any and
all rights to a speedy trial pursuant to the Sixth Amendment of the United States l
Constitution, Title 18, `United States Code, Section 3161, Federal Rule of Criminal
Procedure 48(b), and any applicable Local Rules of the United States District Court for
the Southern District of Florida for the Duration of the Agreement.

7. The United States has agreed that if Basler Kantonalbank is in iitll compliance with all
of its obligations under the .Agreement, the United States, within thirty (30) days or

earlier of the expiration of the time period Set forth in paragraph 19 of the Agreement,

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will move this Court for dismissal with prejudice of the Information filed against Basler
Kantonalbank.

WHEREFORE, the United States and Basler Kantonalbank respectfully request that this
Honorable Court enter an Order approving the Agreement and continuing all further proceedings,
including initial appearance and>trial, for the Duration of the Agreement, pursuant to Title 18,
United States Code, Section 3161(h)(2) of the Speedy Trial Act. A proposed Order is attached for
the convenience of the Court. `

Respectfully submitted,

BENJAMIN G. GREENBERG
` TES ATTORNEY

  

. By:

ASSISTANT UNITED STATES ATTO EY .
Court ID No. A5500033

500 East Broward Blvd., 7th Floor

Ft. Lauderdale, FL 33394

Tel: (954) 660-5790

Fax: (954) 356-7336

Tom.Lanigan@usdoj . gov

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RICHARD E. zUCKERMAN l
PRINCIPAL DEPUTY ASSISTANT
A_rroRNEY GENERAL, TAX DrvlsloN

 

MARK F. nw

SENIOR LITIGATION COUNSEL
JASON H. POOLE

TRIAL ATTORNEY

601 D Street NW - Room 7334
Washington, DC 20004

Telephone: (202) 616-2245
Facsimile: (202) 616-1786

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BASLER KANTONALBANK
DEFEND ANT

By: /` (/L;. {/€/L»k./( 4
KEi/TH KRAKAUR, ESQ.
CHRrsToPHER GUNTHER, ESQ.
sKADDEN, ARPS, sLATE, MEAGHER & FLoM LLP
CoUNSEL ro DEFENDANT

 

Lb€AL CoUNSEL
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ExHIBIT 1

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' U.S. Department of Justice

Tax Division

 

 

August 28, 2018

Keith D. Krakaur

Christop_her J. _Gunther

Skadden, Arps, _Slate, l\/leagher & Flom LLP
40 Ban_k St Canary Wharf

London; UK

1314 5DS

Re: Basler Kantonalbank - Deferred Prosecution Agreement
Dear Messrs. Krakaur and Gunther:

"":} The Tax Division of the United States Department of Justice and the United States
Attorney’s Office for the Southern District of Florida (collectively, the “Office”) and defendant
Basler Kantonalbank (“BKB” or the “Bank”), under authority granted by its Board of Directors
in the form of a Board Resolution (a copy of which is attached hereto as Exhibit A), hereby enter
into this Deferred Prosecution Agreement (the “Agreement”).

This Agreement shall take effect upon its execution by both parties
The Criminal Information

v 1. BKB waives indictment and consents to the filing of a one- c-ount lnformation (the
“lnformation”.) in the United States District Court for the Southern District of Florida (the
“Court’ ’,) charging BKB with conspiring with others, including U. S. persons, in violation of Title
18, United States Code, Section 371, to (l) defraud the United States and an agency thereof, to
wit, the United States Internal Revenue Service (the “IRS”), (2) to file false federal income tax
returns in violation of Title 26, United States Code, Section 7206(1_), and (3) to evade federal
income taxes in violation of Title 26, United States Code, Section 7201. A copy of the
lnform_ati_on is,'attached hereto as Exhibit B.

Acceptance of Responsibility
" `2. _ BKB admits and stipulates that the facts set forth in the Statement `of_l~`acts,
attached hereto as Exhibit C and incorporated herein, are true and accurate. In sum, BKB admits
that it_is responsible under United States law for the acts of its officers, directors, employees, and
agents and that the allegations of federal criminal violations charged in the Information and set
forth in the Statement of Facts as a result of those acts are true and accurate.

3. BKB further admits and stipulates that the acts labeled “overt acts” and set forth
in Paragraph 13 of the Information in fact took place.

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Restitution, Forfeiture and Penaltv Obligations

4. As a result of the conduct described in the lnformation land the Statement of Facts,
BKB agrees to make payments in total of $_60. 4 million to the United States. Specifically, BKB
agrees to (1) make a payment of restitution in the amount of $17, 200, 000 (the “Tax Restitution
Amount”), (2) forfeit to the United States $29, 700, 000 million (the “Forfeiture Amount”), and
(3) pay a penalty of $l3, 500, 000 (the “Penalty Amount”) to the U. S. Department of Justice (the
“Department”),: as set forth below.

v 5, ln regard to the Tax Restitution Amount, BKB admits that the Tax Restitution
Amount represents the approximate unpaid pecuniary loss to the United States as a result of the
conduct described in the Statement of Facts. The Tax Restitution Amount shall not be furtherl
reduced by payments that have been made or may be made to the United States by U. S.
taxpayers through the Offshore Voluntary Disclosure lnitiative and similar programs
(collectively, “'OVDI”) before or after the date of this Agreement. BKB agrees to pay the Tax
Restit`ution Amount to the IRS by wire transfer within seven (7) days of the date of the execution
of this"Agreem`ent. If BKB fails to timely make the payment required under this paragraph,
interest (at the rate specified in 28 U.S.C. § 1961) shall accrue on the unpaid balance through the
date of payment, unless the Office, in its sole discretion, chooses to reinstate prosecution
pursuant to Paragiaphs 22 and 23, below l _

6. ln regard to the Forfeiture Amount, BKB agrees, pursuant to Title 18, United
_StatesCode, Section 981(a)(1)(C) that it will forfeit to the _United States the Forfeiture Amount.

" 7. The Forfeiture Amount of $29, 700, 000 represents gross fees paid to BKB by U.S.
taxpayers with undeclared accounts at BKB from January l, 2002 through approximately
December 31, 2012 v

8. The Forfeiture Amount shall be sent by wire transfer to a seized asset deposit
account maintained by the United States Department of the 'l`reasury within seven (7) days of the
execution of this Agreement. lf BKB fails to timely make the payment required under this
paragraph interest (at the rate specified in 28 U. S. C. § 1961) shall accrue on the unpaid balance
through the date of payment, unless the Office, in its sole discretion, chooses to reinstate
prosecution pursuant to Paragraphs 22 and 23, below. _ '

7 " 9. -"'\BKB agrees this Agreement, the lnformation and the Statement of Facts may be
attached and incorporated into a civil forfeiture complaint (the “Civil Forfeiture Complaint”), a
copy of which is attached hereto as Exhibit D, that will be filed against the Forfeiture Amount.
By this Agreement, BKB’ expressly waives service of that Civil Forfeiture Complaint and agrees
that a Final Order of Forfeiture may be entered against the Forfeiture Amount. BKB also agrees
that the facts contained in the lnformation and Statement of Facts are sufficient to establish that
the Forfeiture Amount is subject to civil forfeiture to'the United States.

10. The Office and BKB agree that, consistent with the factors set forth in 18 U.S.C.
§ 3553(a) and 18 U.S.C. § 3572(a), and in light of the Forfeiture Amount and the Tax Restitution

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Amount, the Penalty Amount of $13, 500, 000 is an appropriate penalty given the facts and
circumstances _i_n this case. BKB agrees to pay the Penalty Amount as directed by the Office
within seven (_7) business days of the date of the execution of this Agreement. The Penalty
Amount represents a reduction of approximately 55% from the low end of the fine range that the
parties agree would be applicable under the United States Sentencing Guidelines if BKB had
been convicted and sentenced for its criminal conduct. The Office and BKB agree that th_e '
Penalty Amount is appropriate given the facts and circumstances of this case, including the
nature and seriousness of BKB’ s conduct as set forth in the Statement of Facts, and also, in
mitigation of a higher penalty, among other things: (1) BKB’ s thorough internal investigation
and concomitant efforts to provide extensive information and materials, consistent with
applicable laws and regulations derived from that investigation to U. S. authorities; and (2)
BKB’ s waiver of any potential defense of foreign sovereign immunity. The Penalty Amount is
final and shall not be refunded. Furthermore, nothing in this Agreement shall be deemed an
agreement by the Offi ce that the Penalty Amount is the maximum penalty that may be imposed
in any future prosecution, and the Office is not precluded from arguing in any future prosecution
that the Court should impose a higher penalty.

4 11. Upon payment of the Forfeiture Amount, BKB shall release any and all claims it
may have to such funds and execute such documents as necessary to accomplish the forfeiture of
1 the funds. BKB agrees that it will not file a claim with the Court or otherwise contest the civil
forfeiture of the Forfeiture Amount or the payment of the Penalty Amount and will not assist a
third party in asserting any claim to the Fort`eiture Amount or the Penalty Amount. _

12. BKB agrees that the Tax Restitution Amount, the Forfeiture Amount and the
Penalty Amount shall be treated as non-tax deductible amounts paid to the United States
government for all tax purposes under United States law. BKB agrees that it will not claim,
assert, or apply for, either directly or indirectly, a tax deduction tax credit, or any other offset
with regard to'a`ny United States federal, state, or local tax, for any portion of the $60.4 million
that BKB has agreed to pay to the United States pursuant to this Agreement.

Obligations to Cooperate

713. BKB agrees, subject to applicable laws 'and`regu`l-ations,' to cooperate fully with
the Department and the IRS, and any other U. S. governmental agency designated by the Office
regarding any matter relating to the Department’ s investigation about which BKB has
information or kno.wledge

14. lt is understood that during the term of this agreement BKB shall, subject to
applicable laws and regulations, (a) truthfully and completely disclose all information with
respect to the activities of BKB, its officers and employees, and others concerning all such
matters about 'Which this Office inquires related to this Office’ s investigation, which information
can be used for any purpose, except as limited by this Agreement or by applicable law; (b)
cooperate fully with the Department, the IRS, and any other law enforcement agency so
designated by this Office; (c) consent to the production to the Department of any document,
record or othei tangible evidence; (d) specitically provide, upon request, all items, assistance,

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information land documents required to be produced by Swiss banks participating in the Program
for Non-Prosecut_ion Agreements or Non-Target Letters for Swiss Banks (the “Program”) as set
forth specifically in Parts ll.D.l,2 and 4 and Part II.F of the Program; (e) with respect to
transaction information pursuant to Part II.D.2.b.vi of the Program shall additionally produce
such inforrnation, as soon as practicable, for all accounts closed in the period from January 1,
2009 through December 31, 2017; (f) undertake the retention of records as set forth in Parts

ll. D. 5 and ll. E of the Program; (g) implement the closure of recalcitrant accounts and related
procedures, to the extent that it has not already done so, as set forth in Part lI. G of the Program;
(h) shall, at the Department’ s request, use its best efforts to secure the attendance and truthful
statements or t `stimony of any officer, agent, employee, or former officer, agent or employee, at
any meeting or interview or before the grand jury or at any trial or other court proceeding, to the
extent permitted by applicable law; and (i) shall commit no violations of the federal criminal
laws of the United States. 4

15. Under the terms of this Agreement, BKB shall truthfully and completely disclose,
and continue to disclose during the term of this Agreement, consistent with applicable law and
regulations all material information described in Part II. D. 1 of the Swiss Bank Program with
respect to U.S. Related Accounts held by BKB from 2002 through 2012 (as those terms are
defined in the Program) that is not protected by a valid claim of piivilege or work product With
respect to the activities ot_` BKB and its officers, directors, employees, agents, consultants, and
others, which information can be used for any purpose, except as otherwise limited in this `
Agreement. Subject to applicable laws and__r_egulations, BKB shall disclose to the Tax Division
thatit has discovered new material information required to be disclosed under this Agreement, .
including pursuant tol this paragraph and paragraph l4(d) and(e), within thirty days of discovery
and provide the material information required to be disclosed pursuant to this Agreement, _
including information as described in Part lI. D. 1 of the Pro gram and information pursuant to
paragraph 14(d) and (e) of this Agreement, within ninety days of discovery`. All other terms of
this Agreement shall apply with respect to any newly disclosed account.

` `i 16. 'lt is further understood that BKB will bring to this Office’ s attention (a) all
criminal conduct by,‘ and criminal investigations of,' BKB or its employees related to any
violations of the federal laws of the United States that come to the attention of BKB, and (b) any
administrative `or regulatory proceeding or civil action brought or investigation conducted by any
U. S. governmental authority that alleges fraud by BK_B or any other violations of the federal
laws of the United States in the operation or management of BKB’ s business.

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Deferral of Prosecution and Duration of the Agreement

- ;_,17. » 1he actions BKB has taken to date demonstrate acceptance -and acknowledgment
of responsibility for its conduct, including, among other things:

0 Conducting a thorough internal investigation and providing the Office with the
broadest scope of information permissible under Swiss law and disclosing facts,
including unfavorable ones, discovered during the course of that internal
investigation;

0 Implementing remedial measures as described in Section IV of the Statement of
Facts;

¢ Advocating in favor of a decision provided by the Swiss Federal Council in April
2012 to allow banks under investigation by the Department to legally produce
" employee and third-party information to the Department and subsequently
producing such information almost immediately upon issuance of that decision;
and

¢ Conducting extensive outreach to former U.S. customers in order to encourage
their participation in IRS -sponsored voluntary disclosure programs

18. BKB has also made a corrunitment to: (a) accept and acknowledge responsibility
for its conduct, as described in the Statement of Facts and the Information; (_b) cooperate with the
Department and the IRS; (c) make the payment specified in this Agreement; (d) comply with the
federal criminal laws of the United States (as provided herein in Paragraph 14); and (e) otherwise
comply with all of the terms of this Agreement. ln consideration of the foregoing, the Office
shall recommend to the Court that prosecution of BKB on the lnformation be deferred for three
years from the date of the Signing of this Agreement. BKB shall expressly waive indictment and
all rights to a speedy trial pursuant to the Sixth Amendment of the United States Constitution,
Title 18, United States Code Section 3161, Federal Rule of Criminal Procedure 48(b), and any
applicable Local Rules of the United States District Court for the Southern District of Florida for
the period during which this Agreement 1s in effect.

19. BKB agrees that its obligations pursuant to this Agreement, which shall
commence upon the signing of this Agreement, will continue for three years from the date of the
Court’s acceptance of this Agreement, unless otherwise extended pursuant to Paragraph 21
below (the “Deferral Period”). BKB’ s obligation to cooperate is not intended to apply in the
event that a prosecution against BKB by this Office 1s pursued and not deferred.

20. The Office agrees that if BKB 1s in compliance with all of 1ts obligations under
this Agreement, the Office will, at the expiration of the Deferral Period (including any extensions
thereof), seek dismissal with prejudice of the lnformation filed against BKB pursuant to this
Agreement. Except 1n the event of a violation by BKB of any term of thls Agreement or as
otherwise provided 1n Paragraph 22, the Office will bring no additional charges or other civil

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action against BKB relating to its conduct as described 1n the Statement of Facts. This
Agreement does not provide any protection against prosecution for any crimes except as set forth
above and does not apply to any individual or entity other than BKB and its affiliated entities.
BKB and the Office understand that the Agreement to defer prosecution of BKB must be
approved by the Court, in accordance with 18 U. S ..,C § 3161(h)(2). Should the Court decline to
approve the Agreement to defer prosecution for any reason: _(a) both the Office and BKB are
released from any obligation imposed upon them by this Agreement; (b) this Agreement shall be
null and void, except for the tolling provision set forth m Paragraph 22, below; and (c) if they
have already been transferred to the United States, the Tax Restitution Amount, Forfeiture
Amount and Penalty Amount shall be returned to BKB.

. 2l. BKB agrees that, in the event that the Offlce determines during the `Deferral
Period described in paragraph 19 above (or any extensions thereot) that BKB has violated any
provision of this Agreement, an extension of the period of the Deferral Period may be imposed in
the Sole discretion of the Office, up to an additional year, but in no event shall the total term of
the deferral- of»`prosecution period of this Agreement exceed four years.

Additional Provisions

22. lt 1s understood that should the Office m its sole discretion determine that BKB:
(a) has knowingly given materially false, incomplete or misleading information either during the
term of this Agreement or in connection with the Office’ s investigation of the conduct described
in the lnformation or Statement of Facts; (b) committed any crime under the federal laws of the
United States subsequent to the execution of this Agreement; or (c) otherwise violated any
provision of this Agreement, BKB shall, in the Office’s sole discretion, thereafter be subject to
prosecution for any federal criminal violati`on, or suit for any civil cause of action, of which the
Office has knowledge, including but not limited to a prosecution or civil action based on the
lnformation, the Statement of Facts, the conduct described therein, or perjury and obstruction of
justice.' Any such prosecution or civil action may be premised on any information provided by
or on behalf of BKB to the Department or the IRS at any time. In any prosecution or civil action
based on the Information, the Statement of Facts, or the conduct described therein, it is
understood that: (a) no charge would be time-barred provided that such prosecution is brought
within the applicable statute of limitations period (subject to any prior tolling agreements
between the Office and BKB), and excluding the period from the execution of this Agreement
until its termination; and (b) BKB agrees to toll, and exclude from any calculation of time, the
running of the statute of limitations for the length of this Agreement starting from the date of the
execution of this Agreement and including any extension of the period of deferral of prosecution
pursuant to Paragraph 21 above. By this Agreement, BKB expressly intends to and hereby does
waive its rights in the foregoing respects, including any right to make a claim premised on the
statute of limitations, as well as any constitutional, statutory, or other claim concerning pre-
indictment delay. Such waivers are knowing, voluntary, and in express reliance on the advice of
BKB’ s co.unsel

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`.23. lt 1s further agreed that 1n the event that the Office, in its sole discretion,
determines that BKB has violated any provision of this Agreement in a material respect,
including by failure to_ meet its obligations under this Agreement: (a) all statements made by or
on behalf of BKB to the Office, the Department, or the IRS, including but not limited to the
_Statement of Facts, or any testimony given by BKB or by any agent of BKB before a grand jury,
or elsewhere, whether before o_r after the date of this Agreement, or any leads from Such
statements or testimony, shall be admissible 1n evidence 1n any and all criminal proceedings
hereinafter brought by the Office against BKB; and (b) BKB shall not assert any claim under the
United States Constitution, Rule ll(f) of the Federal Rules of Criminal Procedure, Rule 410 of
the Federal Rules of Evidence or any other federal rule, that statements made by or on behalf of
BKB before or after the date of this Agreement, or any leads derived therefrom, should be
suppressed or otherwise excluded from evidence. lt is the intent of this Agreement to waive any
and all rights in the foregoing respects.

24. BKB, having admitted to the facts in the Statement of Facts, agrees that it shall
not, through its attorneys, agents, or employees, make any public statement, in litigation or
otherwise, contradicting the Statement of Facts or its representations in this Agreement.
Consistent with this provision, BKB may raise defenses and/or assert affirmative claims in any
civil proceedings brought by private parties as long as doing so does not contradict the Statement
of Facts or such representations Any such contradictory statement by BKB, its present or future
attorneys, agents, or employees shall constitute a violation of this Agreement and BKB thereafter
shall be subject to prosecution as specified 1n paragraphs 22 and 23, above, or the deferral- of-
prosecution period shall be extended pursuant to paragraph 21, above. The decision as to
whether any such contradictory statement will be imputed to BKB for the purpose of determining
whether BKB has violated this Agreement shall be within the sole discretion of the Office. Upon
the Office’ s notifying BKB of any such contradictory statement, BKB may avoid a finding of
violation of this Agreement by repudiating such statement both to the recipient of such statement
and to the Office within forty- -eight (48) hours after having been provided notice by the Office.
BKB consents to the public release by the Office, in its sole discretion, of any such repudiation
Nothing 1n this Agreement1s meant to affect the obligation of BKB or its officers, directors,
agents or employees to testify truthfully to the best of their personal knowledge and belief 1n any
proceeding

25. BKB agrees that it is within the Office’s sole discretion to choose, in_ the event of
a violation, the remedies contained in paragraphs 22 and 23 above, or instead to choose to extend
the period of deferral of prosecution pursuant to paragraph 2l. BKB understands and agrees that
the exercise of the Office’ s discretion under this Agreement is unreviewable by any court.
Should the Office determine that BKB has violated this Agreement, the Office shall provide
notice to BKB of that determination and provide BKB With an opportunity to make a
presentation to the Office to demonstrate that no violation occurred, or, to the extent applicable,
that the violation should not result in the exercise of those remedies or in an extension of the
period`of deferral of prosecution, including because the violation has been cured by BKB.

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Limits of the Agreement

26. lt is understood that this Agreement is binding on the Office but does not bind any
other components of the_Department; any other Federal agencies, any state or local law
enforcement agencies, any licensing authorities, or any regulatory authorities. However, if
requested.by BKB or its attorneys, the Office will bring to the attention of any such agencies,
including but not limited to any regulators, as applicable,. this Agreement, the cooperation of
BKB, and BKB’ s compliance With its obligations under this Agreement.

, 27. lt ls understood that BKB contends that it has jurisdictional arguments and
defenses that it could raise to support a claim that it is not subject to prosecution for any criminal
offense 1n the courts of the United States. BKB does not prospectively Waive these arguments or

- defenses and it reserves the right to assert any applicable jurisdictional argument or defense in
any future prosecution or civil action by the United States except for the purposes of entering
into this Agreement, consenting to the filing of the lnformation, and the civil forfeiture
proceeding under the Civil Forfeiture Complaint. The Office and BKB agree that should BKB
be subject to any prosecution per paragraph 22 above BKB will not have waived such

. jurisdictional arguments and defenses

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28. The Office and BKB agree that, upon the submission of this Agreement
(_including the Statement of Facts and other attachments) to the Court, this Agreement and its
' attachments shall be filed publicly 111_ the proceedings 1n the United States District Court for the
'Southern District of Florida. '

z 29. The parties understand that this Agreement reflects the unique facts of this case
and 1s not intended as precedent for other ca ses. ~

Executio`n in Counterparts

30. This Agreement may be executed 1n one or more counterparts, each of which shall
be considered effective as an original signature » ~ '

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Basler Kantonalbank
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Integration Clause
431.: ;l`his Agreement sets forth all-the terms of the Deferred Prosecution Agreement

between BKB and the Office. This Agreement supersedes all prior understandings or promises
between the Office and BKB. No modifications or additions to this Agreement shall be valid
unless they are in writing and signed by the Office, BKB’s attorneys, and a duly authorized
representative of BKB.

Dated: Washington, DC
AugustL_é=,’ 2018

Very truly yours,

RICHARD E. ZUCKERMAN
Principal Deputy Assistant Attomey General
Tax Division

BYZ /\/B('
Mark F. Dal¢_/

Senior Litigation Counsel
Jason H. Poole
Trial Attorney

Accepted and agreed to:

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CHR/tsflA' ~ CHoNlGER
Gener ounsel, Basler Kantonalbank

[(/t.[/(/~/%/’ ‘ ' " ' . '1¢13

KElTH D. KRAKAUR Date
CHRISTOPHER J. GUNTHER

Skadden, Arps, Slate, Meagher & Flom LLP

Attorneys for Basler Kantonalbank

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EXHIBIT A v

 

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CERT|FICATE OF CORPORATE RESOLUT|ON OF THE BOARD OF DlRECTORS OF

BASLER KANTONALBANK

VVel Adrian Bult, Chairman of the Board of Directors o_f Basler Kantonalbankl a public law entity
duly organized and existing under the laws of Switzerland (BKB), and IVlichae| Buess, acting
corporate secretary of BKB, do hereby certify that the following is a complete and accurate copy
of a resolution adopted by the Board of Directors of BKB on August 16, 2018:

i. That the board of directors of BKB:

a)

b)

C)

has thoroughly reviewed and understands the Deferred Prosecution Agreement
attached hereto, including the Criminal Information. Statement of Facts and Civil
Forfeiture Complaint. attached respectively as Exhibits B, C and D to the Deferred
Prosecution Agreement;

has consulted With U.S. and Swiss legal counsel in connection With this matter,
including with respect to BKB's rights, possible defenses, the relevant United States
Sentencing Guidelines provisions, and the consequences of entering into the
Deferred Prosecution Agreement;

is fully satisfied with its attorneys' representation during all phases of the
investigation and the resolution of this matter;

y acknowledges the unanimous approval of the Deferred Prosecution Agreement by
-BKB's management board and its request that the Board of Directors vote to enter

into the Deferred Prosecution Agreement;

has unanimously voted to enter into the Deferred Prosecution Agreement, including:

i) consenting to the filing of a one-count criminal information in the United States
District Court for the Southern District of Florida, charging BKB with conspiring
with others, including U.S. taxpayers, in violation of Title 18, United States
Code, Section 371, to (1) defraud the United States and an agency thereof, to
wit, the United States internal Revenue Service, (2) to file false federal income
tax returns in violation of Title 26. United States Code,

Section 7206(1), and (3) to evade federal income taxes in violation of Tit|e 26,

United States Code, Section 7201; ii) waiving indictment on this charge; and iii)

to make payments totaling USD 60,400,000 as follows;

(1) to make a payment of-restitution in the amount of USD 17,200,000 to the
United States internal Revenue Service, representing the approximate
unpaid pecuniary loss to the United States as a result of the conduct
described in the Statement of Facts;

(2) to forfeit an amount of USD 29,700,000 to the United States Department
of the Treasuryfor fees earned by BKB as a result of the conduct described
in the Statement of Facts; and

 

 

 

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(3) to pay a penalty in the amount of USD 13,500,000 as directed by the
United States Attorney for the Southern District of Florida or*the Tax
Division of the United States Department of Justice.

2. That Christian Schoniger, General Counsei of BKB, is hereby'authorized (i) to execute the
Deferred Prosecution Agreement on behalf of.BKB substantially in such form as reviewed ,
by the Board of Directors with such non-material changes he may a_pprove; and (li')'to take',
on behalf of BKE’>,4 all actions and to approve and execute all forms, terms or'provisions of
any agreement and other documents as may be necessary or appropriate in order to carry
out the ~foregoing; and

3. That Keith D. Kral<aurl Esq., and Chrlst_o_pher J. Gun_ther. Esq., Skadden, Arps, Slate,
l\/|eagher & Flom l_LP, are hereby authorized to sign the Deferred Prosecution Agreement
in their capacity as BKB's U.S. counsel and to take all actions and to approve and execute
all forms, terms or provisions of any agreement and other documents as may be necessary
or advisable in order to carry out the foregoing '

We further certify that the above resolution has not been amended or revoked in any respect and
remains in full force and effect. '

lN VV|TNES //jWHEREOF, we have executed this Certification this August 17 2018.

// /l _ %A ,M,,,.,

Ad /rfari Bult}/ i\/lichael Buess
Chairmanj Secretary

LEGAL_|ZAT|.ON

|l the undersigned notary public of Basle (Switzerland) Dr. Andreas F|uckiger, hereby certify that

the foregoing signatures have been executed today before me by

Nlr, Adrian Robert Bult, born on January 19 (nineteen) 1959 (nineteen hundred and fifty-nine),
Swiss citizen of Bas|el resident of Basle (Switzerland), Who furnished proof of identity trough his

Swiss identity card,
and

Mr. Nlichael Buess, born on ist (first) July 1976 (nineteen hundred and seventy-six), Swiss
citizen of Basle, resident of l\/lagden (Swltzer|and), who furnished proof of identity trough his Swiss

identity card,

who are entered in the Register of Commerce ofthe Canton of Bas|e (Swit`zerland) with joint agent

 

 

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signature at two for the

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Basler Ka t ` '
n onalbank, Public-Sector Entity (Staatsanstalt) established by cantona|`legis|ation of

the Canton of Basle (Switzerland) with domicile in Basle

(Switzerland),

|\/lr. Ad ' ' '
rian Robert Bult as president of the board of directors (Bankrat) and l\/lr. l\/lichael Buess as

secretary of the board of directors (Bankrat).

Ba | ' `
l se (Switzerland) this 17th (seventeenth) day of August 2018 (two thousand and eightteen)

 

 

 

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APOSTlLLE

(Conventlon de la Haye du 5 octobre 19

Swiss Confederation. Canton of B
Schweizerlsche Eldgenossenscha

Country
Land

This public document
Diese offerit_liche Urkunde

has been signed by
ist unterschrieben von
acting in the capacity of Notary Public
in seiner Eigenschaft`als
bears the stamp/seal of Fliickiger Andreas
Sie ist versehen mit clem
Stempel/Siegei des/der

Cerfified l Bé$t§tigt

5. at l in Basel 6. the / am

7. by the Legalisation Office of the Canton of Ba
durch das Begiaubigungsbi]ro des~Kantons Basel

8. No. / Nr. 135159 tax l Taxe CHF

10. Signature
Unterschrift

    
  

asel-Clty
ft, Kanton Basel-Stadt

Dr. iur. Andreas Fii]ckiger

sel-City

Nicolas Stucky

j '/ LZ/Al/¢/a/

Dr. Andreas Flt]ckiger
Notary Public

61)

17.08.2018

-Stadt

20.00

 

 

 

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» EXHIBIT B

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UNITED STA'I`ES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA.

cASE No. l?> C,r’ K@OQQ\Y\ » `@\oom/\iulle/

18 U.S.C. § 371

UNITED STATES OF AMERICA

 

v.
BASLER. KANTONALBANK,
Defendant.
/
INFORMATION
The United States Attomey charges that:
l_!lfr_OQll_€Li!lll

At all times relevant to this Inforrnation:

l. Defendant BASLER KANTONALBANK (“BKB or the Bank”) Was a public-
law institution incorporated by the Parliament of the `Basel City Canton. BKB had its
headquarters in Basel, Switzerland. Frorn 1997 to 2014, BKB had a private-banking branch that
Was located in Zurich, Switzerland.

2. BKB provided a variety of banking and other financial services to customers in
the Canton of Basel,' as well as outside Switzer.l,and, including providing private-banking and
asset-management services to U.S. citizens and residents, some of whom lived in the Southern
District of Florida. BKB also acted as a custodian of assets that Wei.:e managed by third-party
investment advisors and external asset managers (“EAMS”).

3. United States citizens, resident aliens, and legal permanent residents (“U.S.

pcrsons"’) Were obligated to report all income earned worldwide, including from foreign bank

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accounts, on their tax returns and to pay the taxes due on that income U.S. persons were also
obligated to report to the Internal Revenue Service (“lRS”), on Schedule B of a U.S. individual
income Tax Return, Form 1040, whether they had a financial interest .in, or signature or other
authority over, a financial account in a foreign country in a particular year and to identify the
country where the account was maintained

4. In addition, U.S. persons who had a financial interest in, or signature or other
authority over, one or more financial accounts in a foreign country with an aggregate value of
more than $l0,000 at any time during a particular year were required to tile a Repori; of Foreign
Bank and Financial Accounts Form TD 90-22.l (since changed to FinCEN Fonn 114),
(“FBAR”) with the Department of the Treasury.

5. An “undeclared account” was a financial account beneficially owned by a U.S.
person and maintained in a foreign country that the U.S. person had not timely reported to the
United States on a tax return and FBAR. l

COUNT 1
CONSPIRACY 18 U.S.C. § 371

6. The factual allegations contained in Paragraphs l through 5 of this lnformation
are realleged and incorporated by reference as if copied verbatim
7. From at least 2002 through 2012, in the Southern District of Florida and

elsewhere, the defendant,
BASLER KANTONALBANK,

did knowingly and willfully conibine, conspire, confederate and agree with certain U.S. persons,

EAl\/ls, and employees of BKB, to defraud the United States with respect to taxes and to commit

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offenses against the United States, namely, violations of Title 26, United States Code, Sections

7201 ana 7206(1).

8. lt was an object of the conspiracy that BKB and its co-conspirators would conceal
the offshore assets and income of U.S. persons who maintained financial accounts at BKB from
the IRS, evade the U.S. persons’ tax obligations, and file false federal tax returns with the l_RS.

Overview of the Conspiracv

9. Frorn at least 2002 through 2012, BKB assisted certain U.S. persons in concealing
their offshore assets and income from U.S. taxing authorities, evading their U.S. tax obligations,
and filing false federal tax returns with the lRS. By 2010, when the Bank’s U.S. related business
was at its peak, the Bank held a total of approximately 1,144 accounts on behalf of U.S.
customers with an aggregate value of approximately $813.2 milli.on. Many (but not all) of these
accounts were 'un`declared.. BKB provided a number of traditional Swiss banking services that
could assist and did assist its U.S. clients in concealing their accounts from the U.S. government,
including the use of code names for accounts, prepaid debit cards, and hold-mail services in
which the Bank would not send any account documents to the account holders In some
instances, bankers at BKB and EAMS working with BKB would emphasize to clients and
prospective clients that Swi ss bank secrecy could conceal their accounts from U.S. taxing
authorities '

lO. Empl,oyees of the Bank met directly with some U.S. clients, but the clients
primarily interacted with BKB through EAMS with whom BKB had a contractual relationship
Among these EAMS was Martin Lack. In or around 2003, BKB entered into a relationship with
Lack, who had recently left Swiss bank UBS AG. Lack brought to BKB over twenty U.S. clients

with undeclared accounts. With the knowledge and encouragement of the leadership of BKB’s

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Zurich branch, Lack traveled to the United States to meet with US. clients with undeclared
accounts and, over the years, brought additional U.S. persons seeking undeclared accounts to the
Bank to become clients.

l l. .ln March 2008, the Bank became aware that UBS‘was considering closing its
cross~border business of servicing U.S. domiciled persons.. Soon after, in May 2008, it became
public that lJBS’s U.S. cross-border business was under criminal investigation by U.S.
authorities 'l.`he Bank’s Zurich branch saw this as a business opportunity and seized it, signing

` up additional EAMs and offering usual iinders’ fees to bring in clients leaving U`BS. ln some
instances, the Bank and the EAMS promoted BKB as a safe haven for those leaving other banks
because it lacked a U.S. presence and therefore supposedly would not be subject to a U.S.
criminal investigation Between July 2008 and March 2009, the Bank opened 398 new accounts
for U.S. persons, resulting in approximately $44] .6 million in new assets for the Bank.

Manner and Means of the Conspiracv

12. Arnong the manner and means by which BKB and its co-conspirators carried Out

the conspiracy were the following:
a. BKB opened accounts for U.S. persons that the clients did not report to the United
- States on either Forms l040, Schedule B, or on FBARS, and for which the U.S.
- . persons did not reporter pay taxes on account earnings to the United States. The
v materially false Forms 1040 that clients fried were often electronically transmitted
to the l.RS through the use of interstate wire communications Funds were often
transferred to or from these accounts by means of wire transfers in foreign
commerce
b. BKB entered into contracts with EAMS and allowed these EAMs to manage

undeclared accounts for U.S. persons at the Bank.
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h.

BKB bankers and co-conspirator EAMS assured certain clients that Swiss bank
secrecy would conceal their assets and income from being disclosed to U.S.

taxing authorities

'BKB provided hold-mail services, under which account statements and other

documents associated with the client’s account would not be sent to the
customer’s address, if any, in the United States, which might reveal a connection
between the client and the Bank.

BKB provided certain clients with “assumed name” and “numbered” accounts
that provided an extra level of concealment 'l"he accountholder’s name would not
appear on any correspondence, statements, or similar documents

BKB allowed U.S. persons to maintain accounts at the Bank through nominee
corporations or other entities tliat\were established in various tax~haven
jurisdictions including the British Virgin lslands, Liechtenstein, and Panama.
Many of these entities were established with the assistance of EAMS and the Bank
knew that the accounts were beneficially owned by U.S. persons

Beginning in 20087 after the criminal investigation of UBS became public, th`e
Bank signed contracts with additional EA.l\/ls as part of an effort to attract clients
leaving UBS and other Swiss banks

Beginning in 2008, after thecriminal investigation of UBS became public, BKB
bankers and its co-conspirator E_AMs emphasized the Bank’s lack of a U.S.
physical presence as supposedly meaning that the Bank could not be subject to a

U.S. criminal investigation

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()vcrt Acts
13. in furtherance of the conspiracy and to effect the illegal objects thereof, BKB and
other c,o-coiispii‘ators, committed the following overt acts, among others, in the Southern District
of Florida and elsewhere: l
‘a. in or around 2003, the Bank entered into an agreement with Lack, pursuant to
which Lack. brought U,S. clients with undeclared accounts to BKB.

b. On or about December 13, 2004, Lack met in Miami, Florida with two of his l
clients with accounts at BKB and accepted a total of approximately 3160,000 in
cash from those clients as deposits into their undeclared accounts at BKB

c. On or about September 20, 2005, Lack met in Miami, Florida with three of his
clients with accounts at BKB and gave them a total of approximately $45,000 in
cash as withdrawals from their respective undeclared accounts at BKB.

. d.. In or after March 2008, BKB employees, including the leadership of the Zurich
4 branch, decided to pursue clients leaving UBS as a business opportunity and
authorized usual finder’s fees and signed up new EAMs in an effort to attract new
clients

e. On various dates in or after March 2008, BKB opened new undeclared accounts
for U_.S. persons leaving other Swiss banks, including, for exa.mple, an account for
a client who was told by UBS his account needed to be closed because ofU.S.
government action ln or around 2008, the client, attire advice of UBS, went to

BKB and met with a BKB banker, who encouraged him to transfer his account to _

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BKB because it still had Swiss bank secrecy and was “safe” and “independent”
from the United States The client agreed and transferred his undeclared account

from UBS to BKB.
i

All`in violation of Tit.le 18, United States Code, Section 371.

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EXHIBIT C

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Exhibit C to Deferred Prosecution Agreement

STATEMENT OF FACTS

I. BACKGROUND ON THE BANK

Basler Kantonalbank (“BKB” or “the Bank”) was founded in 1899 as a public-law
institution in Basel, Switzerland. The Bank was incorporated by the Parliament of the Basel City \
Canton and all of its voting rights are held by the Canton, a sovereign political subdivision of the
Swiss Confederation. The Bank has issued non-voting shares to the public, which amount to
14.2% of the Bank’s equity. BKB currently employs approximately 800 persons and operates 14
branches in the Canton. BKB has never had branches, subsidiaries, or affiliates outside
Switzerland except for a Guernsey-based subsidiary used for issuing structured financial
products As of December 3 l, 2017, BKB had approximately $26.5 billion in assets under
management

BKB’s core business included retail and custodial banking services, mortgage lending,
currency and securities trading, and financing businesses in the Canton and surrounding regions
ln addition to accounts held by Swiss residents and businesses, BKB provided private banking
and asset management services to individuals and entities outside Switzerland, including citizens
and residents of the United States BKB provided these services principally through a private
banking group in Zurich that it acquired in 1997 and closed in 2014. BKB also acted as a
custodian of assets that were managed by third-party investment advisors and external asset
managers (“EAMs’ ’.) These assets included assets beneficially owned and controlled by U.S.
persons

II. U.S. lNCOME TAX AND REPORTING OBLIGATIONS

U.S. citizens, resident aliens, and legal permanent residents (“U.S. persons”) are
obligated to report all income earned worldwide, including from foreign bank accounts, on their
tax returns and to pay the taxes due on that income. Starting in 1976, U.S. persons have been
obligated to report to the lntemal Revenue Service (“IRS”) on the Schedule B of a U.S.
lndividual lncome Tax Return, Form 1040, whether that individual had a financial interest in or
signature authority over a financial account in a foreign country in a particular year and to
identify the country Where the account was maintained

Since 1970, U.S. persons who have had (i) a financial interest in, or (ii) signatory
authority over,- one or more financial accounts in a foreign country with an aggregate value of
more than $10,000 at any time during a particular year, have been required to file a Report of
Foreign Bank and Financial Accounts, FinCEN Form ll4, formerly known as Form TD F 90-
22.1, (the “FBAR”) with the Department of the Treasury. The FBAR for the applicable year
historically was due on June 30th of the following year.

7 An‘ ‘undeclared account” is a financial account beneficially owned by an individual
subject to U.S. tax obligations and maintained in a foreign country which had not been reported
by the individual account owner to the U.S. government on an income tax return and an FBAR.

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Exhibit C to Deferred Prosecution Agreement

Ill. BKB’S OFFENSE CONDUCT
A. Overview `

From at least 2002 through 2012, BKB assisted certain U.S. persons in concealing their
offshore_assets and income from U.S. taxing authorities, evading their U.S. tax obligations, and
filing false federal tax returns with the IRS. ln 2002, BKB held a total of approximately 429

_ accounts on behalf of U.S. taxpayers, including approximately 286 accounts for either retail
clients with assets between $50,000 and $100,000 or U.S. customers not living in the United
States The aggregate value of these 429 accounts was approximately $l27.l million - 0.94 %
of BKB’s total client assets at the time. By 2010, when the Bank’s U.S. related business was at
its peak, the Bank held a`total of approximately 1,144 accounts on behalf of U.S. customers with '
an aggregate value of approximately $813.2 million _ 2.30% percent of BKB’s total client
assets at the time and a more than six-fold increase in the assets for U.S. customers compared to
2002. These accounts included both declared and undeclared accounts

` Employees of the Bank met directly with some U.S. clients, but the clients primarily
interacted with BKB through EAl\/ls with Whom BKB had a contractual relationship ln some
instances, the Bank and the EAl\/ls promoted BKB as a safe haven for those leaving other banks
because it lacked a U.S. presence and therefore Supposedly would not be subject to a U.S.
criminal investigation ln`some instances, the Bank and the EAMS also emphasized the benefits
of Swiss bank secrecy in concealing accounts from U.S. taxing authorities

ln or around 2003, seeking to expand its private banking operations, BKB entered into a
relationship with Martin Lack, who at the time Worked for EAl\/l Firm l and who later formed his
own firm, Lack & Partner Asset Manageinent AG (“Lack & Partner”). Lack had recently left
Swiss bank UBS AG and brought to BKB over twenty U.S. clients with undeclared accounts
Although Lack was not an employee of the Bank, he had a close working and contractual
relationship with BKB. Lack and the Bank split fees for the new clients and BKB provided
support and assistance to Lack, including allowing Lack to temporarily work out of a conference
room at the Zurich office from mid-November 2003 to early February 2004 and providing
account documents to Lack in 2002 and 2003 when he met With clients in the United States.

The Bank’s client base of U.S. persons with undeclared accounts grew between 2003 and
2008. BKB provided a number of traditional Swiss banking services that could assist and did
assist its U.S. clients in concealing their accounts from the U.S. government, including the use of
code names for accounts, prepaid debit cards, and hold-mail services in which the Bank would
riot send any account documents to the account holders

' ln March 2008, the Bank became aware that UBS was considering closing its business of
servicing U.S.-domiciled persons Soon after, in May 2008, it became public that UBS’s U.S.
cross-border business was under criminal investigation by U.S. authorities The Bank’s Zurich
branch saw this as a business opportunity and seized it, signing up additional EAl\/ls and offering
usual finders’ fees to bring in clients leaving UBS. Between July 2008 and March 2009, the
Bank opened 398' accounts for U.S. persons, resulting in approximately $441.6 million in new
assets-for the Bank. Following the arrest of Renzo Gadola, an associate of Lack’s, in Florida in

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Exhibit C to Deferred Prosecution Agreement

November 2010, and the later indictment of Lack in the United States, the Bank began exiting
the U.S. cross-border business in August 2011.

B. Account Openings by U.S. Customers through Martin Lack

The Bank had long offered some private banking services out of Basel. Seeking to grow
its private banking business, in 1997 BKB acquired a private banking group based in Zurich,
which operated through 2014. Until 2012, the Zurich branch was headed by Executive A, who
also served as a member of the Bank’s Extended Executive Board. The branch had its own
executive board as well, which Executive A'headed. The Bank established a separate line of
reporting for Zurich: rather than reporting to BKB’ s head of private banking, the Zurich branch
instead reported directly to the Bank’s Chief Executive Officer.

Beginning in 2002 and 2003, BKB further expanded its private banking by establishing a
close business relationship with Lack. Lack had previously worked as a relationship manager
and Team Head on the North America desk at UBS. ln 2002, he left UBS and joined EAM Firm
l. After approaching a different cantonal bank, Lack settled on BKB as a custodial bank for his
clients’ assets

Lack met with Manager A, a deputy head in Zurich, at the Bank’s Zurich offices and later
met with both Manager A and Executive A to discuss bringing his clients to BKB. Manager A
and Executive A were aware that Lack had undeclared U.S. clients and the two Welcomed the
new business Based on Lack’s meetings with Executive A and Manager A, it was clear that
BKB stressed the benefits of Swiss bank secrecy for clients and would help conceal the clients’
accounts

Lack transferred approximately 30 accounts of U.S. clients to BKB, comprising an
aggregate $44`;3 million in assets Most were clients whose accounts he had formerly managed
at UBS. Lack continued his practice, begun at UBS, of traveling to the United States to meet
With U.S. clients The Bank was aware that Lack made these trips Moreover, the Bank
encouraged Lack to bring in new clients, and on at least two occasions minutes for meetings of
the Zurich office’s executive team show that one of the discussed items was the likelihood of v
Lack being able to bring in new clients from soliciting business during trips to the United States
These minutes were copied to the CEO of the Bank, who was Executive A’s direct supervisor.
Executive A was aware that Lack had new clients signing account opening forms for BKB in the
United States, and in some cases, these forms falsely indicated that they had been signed in
Zurich.

ln late 2003, while Lack was on one of his U.S. trips, EAl\/I Firm l terminated Lack’s
employment Lack called Executive A with the news Executive A was eager to keep Lack’s
clients and allowed Lack to operate his asset management business from a BKB conference room
for about two and a half months

ln November 2003, Lack incorporated his own firm, Lack & Partner, through which the

close relationship between Lack and BKB continued Lack continued to bring new clients to
BKB. Between 2002 and 2009, the number of clients Lack had brought to BKB grew to
approximately 74 U.S. customer accounts, with assets of $l72.5 million.

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Exhibit C to Deferred Prosecution Agreement

Manager A served as the primary relationship manager at the Bank for Lack’s clients,
and clients who came to Zurich to visit the Bank would generally meet with Manager A. A few
of Lack’s clients also met with Executive A. Banker l, who formerly worked for Lack at UBS
and came to work at BKB, was another day-to-day contact for Lack at BKB. ln 2006, Banker l
left BKB and took a job working directly at Lack & Partner.

v After founding Lack & Partner, Lack continued his travel to the United States Lack
sometimes informed Manager A before he went to the United States. He met with clients in
numerous locations on these trips, including in the Southern District of Florida and other
locations in Florida, as well as in New York, Atlanta, New Orleans, and other cities ln 2002 and
2003,' Manager A provided Lack with clients’ account statements by email for Lack to show

. clients in the United States Lack carried a portable printer so that he could print off the
statements to give to clients without having to carry the statements through U.S. Customs. Later,
Lack also had access to BKB’s online banking system, from which he could download account
statements for clients, including when he was in the United States .

Lack also provided cash services to clients in the United States F or example, Lack met
Client l in New Orleans and received cash that Client l wanted deposited into his undeclared
BKB account. Lack invited other clients wanting to make withdrawals from their undeclared
accounts to meet him in New Orleans. Using the cash from Client l, Lack provided cash to
those clients wanting to make withdrawals Lack conducted similar cash transactions with
clients throughout Florida including in the Southern District of Florida. For example, one client
would often meet Lack in Florida to receive cash when Lack had cash available from another
client making a deposit

When Lack returned to Switzerland, he gave receipts to Manager A for these cash
transactions, so that the clients’ accounts could be reconciled Manager A knew that Lack made
the cash transactions in the United States, but he or a member of his staff recorded the
transactions as if they occurred in Switzerland as normal withdrawals or deposits._ Executive A
was also aware of these practices Certain U.S. clients would visit the Bank in Zurich and
withdraw cash directly from their undeclared accounts

"C. BKB Views Clients Leaving Banks under Investigation as an Opportunity

' ln March 2008, BKB learned that UBS intended to close its U.S. cross-border businesses
servicing accounts for U.S.-domiciled persons By early May 2008, BKB management was
aware of the fact that UBS was under criminal investigation by U.S; authorities When UBS
publicly disclosed that U§S. and Swiss authorities were investigating its Swiss- based cross-
border banking services for U. S. private clients ln July 2008, UBS announced that it was
closing its U. S. cross- b-order business out of non- -SEC registered entities

Certain executives at BKB’ s private banking branch in Zurich viewed UBS"s exit from
the U.S. cross-border business as an opportunity. The Bank’s Zurich branch actively sought to
attract clients leaving UBS and authorized and offered usual finder’s fees for EAMS bringing in
new clients in an effort to attract business from clients who were leaving UBS. As Bank
employees explained in- a September 2008 “Targets & Measures Action Plan” for the Zurich
branch’s 2009 budgeting process: as “competitor banks partially withdraw from U.S. business,”

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the Bank should “seize [U.S. customer] market opportunities immediately” as this opportunity
was “not leveraged enough.” This document was copied to the Bank’s Executive Board

The Bank knew that some clients leaving UBS sought new banks that would allow them
to maintain undeclared accounts For example, one internal email from November 2008 between
two bank employees discussing a client wanting to move from UBS to BKB observed that the
prospective client‘ received a letter from UBS stating that they either have to tax their assets held
with UBS. .or that, otherwise, they would have to look for a new bank.” The email was clear
that the funds to be transferred to the Bank “were never taxed in the U. S. A. ” ' d

Following UBS’ s disclosure that it would exit its U. S. -domiciled client business, the
B_ank signed contracts with several new EAM firms For example, in lurie 2008, Executive A
and Manager`A signed an agreement with`an EAM firm established by two former employees of
UBS’s North America desk (“EAl\/l Firm 2”). BKB sublet separate offices to this firm and
provided-the firm with infrastructure and meeting rooms at the Bank’s Zurich premises lntemal
BKB documents often referred to the firm as the “in-house EAl\/l.” EAl\/l Firm 2 opened or
transferred 61 U.S. customer accounts with a maximum of approximately $26.9 million in total
assets to BKB. The Bank terminated the agreement with EAM Firm 2 in March 2012.

Another EAl\/l around this time was Swiss Financial Adviser l and his firm. BKB
reached an agreement with Swiss Financial Adviser l in 2008, and in 2008 and 2009, Swiss
Financial Adviser l brought 10 U.S. clients, with assets over S73.l million, to the Bank. These
clients came from UBS and from Credit Sui'sse AG. Swiss Financial Adviser l was later
indicted in the United States for conspiring with U.S. taxpayers to defraud the United States.

Yet another adviser, EAl\/l Firm 3, brought several U.S. clients to the Bank, including a
family living in New York who transferred over $lOO million in undeclared assets from a bank in
- Liechtenstein to BKB. ’ '

EAl\/ls with whom the Bank had existing relationships were also a source of new U.S.
clients One Was EAl\/l Firm 4, which had entered into a contract with the Bank in September
2007. ln the wake of the UBS disclosure, EAl\/l Firm 4 brought 75 new U.S. clients to the Bank,
almost all of them former UBS clients, with assets of $69.4 million.

" The Bank also obtained new clients through Lack in 2008, and through Renzo Gadola, a
former UBS banker who began working closely with Lack. Gadola formed his own firm, RG
lnvestment Partner AG, but Lack and Gadola shared office space in Zurich. ln July 2008, the
minutes of a Zurich executive board meeting mention that Lack would be hiring a former banker
from UBS’s North America desk and note that "‘EAl\/l Lack is considering hiring a new
employee`[Gadola] (former UBS) with U.S. clients Assets amounting up to USD 50 million
could be deposited with us (against a finder’ s fee). ” Gadola brought at least eleven former UBS
clients to the Bank. And Lack & Partner, during its peak year of 2009, managed $l l8. 4 million
in assets for 60 U. S. customer accounts at the Bank.

Overall, between July 2008 and March 2009, BKB opened 398 new U.S. customer
accounts with total assets of approximately 8441.6 million Most of these clients were referred to
BKB by EAMS. But new U.S. clients also came to the Bank and opened undeclared accounts

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directly, without going through an EAM. During this same period, dozens of undeclared
accounts, with total assets of nearly $41.4 million, were opened directly at the Bank by U.S.
persons

D. BKB’s Aiding and Abetting of U. S. Taxpayer-Clients in Evading U. S. Taxes

The Bank offered a variety of traditional Swiss banking services that could aid and did
aid its U. S. clients in concealing their assets and income from U. S. authorities Primarily, the ,
Bank did so by opening and maintaining accounts for U.S. taxpayers and by allowing third-party
EAl\/ls' with whom it had contractual relationships to open accounts for U.S. taxpayers at BKB.
ln some instances, BKB.»also emphasized, especially after the revelations about UBS being.under
criminal investigation that the Bank lacked a physical presence in the United States

The Bank also offered other services that were used by U.S. taxpayers as means of
concealment One such feature was the “hold mail” service. Clients who opted for this service
would not have account statements or other documents associated with the account sent to the
customer’s address, if any, in the United States, which might reveal a connection between the
client and the Bank. lnstead, the customer’s mail would remain at BKB, Between 2002 and
2010, BKB maintained approximately 568 U.S. accounts with “hold mail” service.

,, BKB also provided certain U.S. customers With “assumed name” and “numbered”
accounts By using such accounts, clients received an extra level of concealment The
accountholder’s name would not appear on any correspondence, statements, or similar
documents

U.S. clients held 226 accounts at the Bank through nominee corporations or other entities
that were established in various tax-haven j»urisdictions, including the British Virgin lslands,
Liechtenstein,‘and Panama. Most of these entities were established with the assistance of EAMS
and the Bank-knew that the accounts Were beneficially owned by U.S. persons Many of these
U.S. clients held undeclared accounts in the name of such entities

BKB also permitted U.S. customers and EAl\/ls to structure withdrawals from undeclared
accounts in amounts less than $10,000 in an attempt to conceal transactions from U.S.
authorities For example: `

0 One U. S. client, between March 2009 and January 2012, wrote 100 checks in the
amount of $5, 000 each, a total of $500, 000, all drawn orr an account nominally
owned by a Liechtenstein foundation

0 Another U.S. client, over a period of three days in January 2009, wrote 21 checks
lin amounts between $4,800 and $9,900, a total of approximately $200,000.

0 Another U.S. client wrote 20'checks of $9,200 each, a total of $183,000, drawn on
the client’s numbered account between March 2010 and March 2011.

BKB permitted three annuity accounts for insurance carriers (commonly known as
insurance Wrappers), where the Bank was or is aware that the account had been funded by a U.S.

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person and that therefore the insurance carrier likely had an insurance contract with a U.S. client-
policy holder.

Finally, in at least 18 cases, the Bank processed substantial cash withdrawals (over
$500,000) for U.S. clients in connection with closing accounts These large withdrawals meant
that it would be harder to track the client to another bank where the client might deposit the cash
to set up a new undeclared account. For example, the Bank provided two U.S. account holders
with an undeclared account with $110 million in cash, which had been transferred to BKB from
a Liechtenstein bank in December 2008. ln another instance, the Bank processed $5.7 million in
cash withdrawals by a U.S. client between March 2007 and May 2012.

E. Specif`ic Examples of Misconduct

During the course of the Bank’s aiding and abetting U.S. taxpayers in evading their U.S.
taxes, Bank employees, EAMS, and U.S. clients took a variety of actions to maintain the secrecy
of the undeclared accounts Some representative examples of the Bank’s undeclared U.S.
clientele and their misconduct include: `

0 Client 2 had accounts at UBS, including accounts holding approximately 2,900
gold Kruggerands. ln December 2008 and January 2009, Client 2 transferred his
accounts to BKB. He met with a banker at BKB, Banker 2, Who assured him that
his account at BKB would be “safe” because the Bank did not have a presence in
the United States

¢ Client 3 had a UBS account. His banker at UBS was Asset Manager A, at the

time a UBS employee When UBS began closing U.S.-person accounts, and

` Asset Manager A left the bank to form EAM Firm 2, Client 3 followed and had
his account transferred to BKB, Client 3 regularly mailed envelopes of cash into
Switzerland to Asset Manager A, in amounts under $10,000 to avoid currency
reporting requirements He would periodically travel to Switzerland to meet with
Asset Manager A and employees of the Bank to deposit the accumulated cash

l"mailed into the country._ In 2012, Client 3 transferred his account to a bank in
Lithuania.

0 Client 4 was a UBS client whose account was also managed by Asset Manager A.
'i_ln 2008, Asset Manager A told him that because of pressure from the U.S.
government, he was leaving UBS and forming his own advisory firm and advised
Client 4 to transfer his account to BKB. Client 4 agreed and flew to Switzerland
to meet with Asset Manager A and Bank employees to transfer his account.

0 ln or around 2008, Client 5 met with a UBS banker in Zurich about his family’s
account. The banker told him that UBS had to close accounts for U.S. persons
because of U.S. government action and advised him to go to BKB. Client 4 met
with Banker 3 at BKB’s offices Banker 3 encouraged him to transfer his account
to BKB, because BKB still had Swiss bank secrecy but was “safe” and
“independent” fromthe United States Client 5 had the account transferred A
Bank employee also advised him to always withdraw less than $10,000 in cash

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from the account, which he once did in June 2009, and to use a relative with an
account in the Netherlands to funnel deposits and withdrawals to the Swiss
account at BKB, which the client never did.

0 In or around late 2009, the husband of Client 6 transferred his assets from Bank
Julius Baer to BKB and opened an account in the name of Client 6. Client 6’s
husband and her sister, a German citizen, met with Banker 4 in a conference room
at the Bank. Afterwards, Client 6 and her husband'did not contact the Bank
directly and had the bank retain documents and statements at the Bank. Instead,
communications would be made through the German sister of .Client6, who had a
Power of Attorney on the account.

0 ln 2010, Client 7 had an account at Swiss Bank A. Asset Manager B, who ran
EAM Firm 5, advised him to transfer his account to BKB because it was not “on
the U.S.’s radar.” Client 7 transferred his funds and met with Banker 2 to conduct
the transfer. The account was held in the name of a nominee corporation
established in the British Virgin Islands, but Client 7 and his wife were the
beneficial owners of the account, as BKB was aware. EAM Firm 5 provided a
Form A stating that both beneficial owners were Israeli citizens and residents

0 In 2008, Client 8 had an account at UBS. His banker at UBS told him he needed
to leave and suggested he set up a “black and white” account at another Swiss
bank. A “black and white account” meant having a small declared account, which
was reported to U.S. authorities, and a larger undeclared account that was kept
hidden. After being rejected by several other banks, Client 8 met Swiss Financial
Adviser 1, who was able to move his UBS account to BKB. The adviser told him
that BKB did not have a U.S. presenc`eand that the U.S. government was focusing
on_Swiss banks that did. The account at BKB was held in the name of a nominee
Hong Kong corporation formed by the adviser.

0 Client 9 transferred his accounts from UBS and at another Swiss bank, worth
approximately $17 million, to BKB, He met with Banker 2 at the Bank’s offices
in Zurich, who told him that BKB was still accepting U.S. clients and that it
lacked operations in the United States Client 9 held his account through the use
of a nominee offshore corporation. At the time of account opening, Client 9 did
not disclose to the Bank that he was a U.S. person.

F, The Bank’s Response Following Various U.S. Justice Department Prosecutions

In February 2009, UBS entered into `a deferred prosecution agreement with the United
States Soon after learning of this, BKB’s Executive Board adopted a new policy mandating
that, beginning in April 2009, no new accounts would be opened for U.S.-domiciled customers
` or non~U.S. structures with'U.S.`-domiciled beneficial owners, even if the beneficial owner was
prepared to provide a Form W-9 to the Bank. The Bank’s policy toward U.S. persons went

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through several changes over the next two years, but it was only in late 2011 that the Bank began
to fully exit relationships with U.S. domiciled clients

The Bank started to exit client relationships with U.S.-domiciled persons in 2011. This
policy did not apply to U.S. persons living outside the United States, even though such persons
remained subject to U.S. taxation. In addition, some individual bankers continued opening some
undeclared accounts for U.S. persons, usually by having a non-U.S. person listed as the
beneficial owner, even though the Bank was aware the account really belonged to a U.S. person.
For example, Lack worked with Manager A to open a new undeclared account for a U. S. client
by using a Spanish friend of the client as a nominee. Another client, working directly with a
BKB banker, opened an account in the name of a German relative.

In January 2010, the executive team at the Zurich offices requested that the Bank amend
its U.S. policy to once again permit the acceptance of new U. S. d-omiciled clients and structures
with U.S.-domiciled beneficial owners if the clients and beneficial owners provided a Form W-9.
BKB management approved this change, provided that the U.S.-domiciled customers and
beneficial owners signed a waiver form permitting the Bank to disclose their name to U.S.
authorities `

During the course of 2010, BKB opened 56 new accounts for U.S.-domiciled customers
with total assets of approximately $75.2 million. The Bank stopped accepting accounts for-U.S.-
domiciled clients at the end of 2010, when Gadola was arrested in the United States In
November 2010, Gadola was in Miami, attempting to persuade a BKB client managed by Lack
to not join the U.S. voluntary disclosure program. The meeting was recorded and Gadola Was
arrested by law enforcement He pleaded guilty in December 2010. After Gadola’s guilty plea,
the Bank instituted a new policy of not accepting U.S. clients even with a Form W-9.

The Bank decided to exit the business of servicing existing accounts for U.S.-domiciled
persons on August 16, 2011, two weeks after the Justice Department made public that Lack had
been indicted for his involvement with helping U.S. clients open and maintain undeclared
accounts at the Bank.

G. BKB’s I`nadequate Control of the Zurich Branch

Between 2002 and 2012, BKB’s business for U.S. customers was almost exclusively
driven by operations in Zurich. This Zurich office was established in 1997 by five bankers who
joined'the Bank as a group from another Swiss bank. This branch was allowed to operate largely
independently of the Bank’s head office in Basel, and BKB failed to exert sufficient supervision
and control over relationships with EAl\/ls that catered to U. S. customers who wanted to open
undeclared accounts at the Bank.

Prior to' 2012, BKB did not develop and implement an effective system of controls over
relationship managers or EAMs with respect to tax compliance and the prevention and detection
of violations of U.S. tax laws, including issuing specific policies regarding the proper handling
of accounts beneficially owned by U.S. persons

Even after the UBS criminal tax investigation became public, before 2010, BKB did not
adopt a program to fully address the Bank’s.obligations with respect to U.S. tax law compliance

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Until 2010, BKB took inadequate steps to educate relationship managers and EAMS about the
proper handling of U.S. customers and the conduct that could assist U.S. customers with
concealing assets and evading U.S. tax obligations The Bank focused primarily on compliance
with banking and securities regulations but did not implement policies or directives that were
adequate to detect or prevent any violations of U.S. tax law.

IV. MITiGATING FA~CTORS AND REMEDIATION

While profitable, BKB’s facilitation of tax evasion by U.S. customers was not the Bank’s
main Source of income BKB’s gross fees from its business with U.S. customers between 2002
and 2014 was on average $3,000,000 per year. This amount includes fee income from both retail
and private banking customers, from both Swiss-based and U.S.-domiciled-U.S. clients, as well
as those with declared accounts »

BKB’s remediation has been comprehensive BKB has halted and terminated all U.S.
cross-border business with U.S. clients and adopted a general policy to provide its services only
to tax-compliant clients lt does not accept new U.S.-domiciled customers and has exited over
1,00.0 existing U.S.-domiciled customers BKB required U.S. taxpayer-clients living outside the
United States to submit a W-9, to provide a banking secrecy waiver, and to confirm that they
comply with their U.S. tax obligations BKB closed its Zurich branch in 2014 and dismissed the
employees and managers implicated in the Department’s investigation of the Bank’s U'.'S. cross-
border business Additionally, BKB has generally restricted its cooperation with EAl\/ls, now
requires its remaining EAMS to comply with BKB’s tax-compliance policies, and has terminated
all agreements `with EAMS that managed U.S. customers (except for five, who »no longer service
U.S. customers). `

il Eventually, BKB began to take measures that were progressively more stringent in an
attempt to ensure that U.S. customers complied with U.S. tax laws:

~ ‘ '»Upon learning of UBS’s deferred prosecution agreement in February 2009, BKB’s
Executive Board approved a new policy mandating that no new accounts would be opened by
U.S.-domiciled-customers or structures with U.S.-domiciled beneficial owners, even if the
beneficial owner was prepared to provide a Form W-9.

~ For a period in 2010, BKB revisited its U.S. policy and decided that certain U.S.-
domiciled customers and beneficial owners would be allowed to open accounts, but only if they
provided a Form W-9. By December 2010,:'BKB again decided to stop accepting all new U.S`.-
domiciled customers and structures with U.S.-domiciled beneficial owners, including those who
could evidence"full U.S. tax compliance and provide a Form W-9.

~ In 201"1, BKB began exiting all existing U.S. customer relationships Exceptions were
made for a limited subset of U.S. customers, including those for whom BKB held mortgages and
those who were only,temporarily domiciled in the United States, provided that they submitted a
F_orm W-9,' confirmed U.S. tax compliance, and waived banking secrecy.

BKB has also conducted extensive outreach to former U.S. customers in order to
encourage their participation in IRS-sponsored voluntary disclosure programs BKB has

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provided such customers with documentation to support their potential applications to disclosure
programs As far as the Bank is aware, its encouragement to U.S. customers has been effective, 1
as a significant number of U.S. customers have participated in an announced IRS voluntary
disclosure program.

4 Since 2012, BKB has fully cooperated with the Department’s investigation BKB has
conducted an internal investigation and.provided the Department with the broadest scope of
requested information permissible under Swiss law. BKB has performed an extensive document
review`and production, requiring translation services and manual data mining, and conducted
numerous formal interviews of personnel in_Z_urich and Basel. BKB has also presented detailed
findings and analysis of its investigation during multiple meetings with the Department.

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EXHIBIT D ,

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.

 

UNITED STATES OF AMERICA,
Plaintiff,
v.

$29,700,000.00 IN UNITED STATES
CURRENCY,

Defendant in Rem.
/

VERIFIED COMPLAINT FOR FORFEITURE IN REM `

Plaintiff, the United States of America ("the United States"),lthrough undersigned counsel,
hereby files this Verified Complaint (“the Complaint”) for Forfeiture In Rem against
$29,700,000.00 in United States currency, and in support thereof alleges as follows

JURISDICTION AND VENUE

1. This action is brought by the United States of America pursuant to Title 18, United

States Code, Section 981(a)(1)(C), seeking the forfeiture of $29,700,000.00 in United States
’ currency (the “Defendant Currency”).

2. This Court has jurisdiction pursuant to Title 28, United States Code, Section 1355 .

3. Venue is proper pursuant to Title 28, United States Code, Section 1355(b)(1)(A),
because certain acts and omissions giving rise to the forfeiture took place in the Southern District
of Florida, and pursuant to Title 28, United States Code, Section 1395(c), because the Defendant

Currency is located in the Southern District of Florida.

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4. The Defendant Currency represents property constituting and derived from
proceeds of wire fraud in violation of Title 18, United States Code, Section 1343, and property
traceable to such property, and is therefore subject to forfeiture to the United States pursuant to
Title 18, United States Code, Section 981(a)(1)(C).

PROBABLE CAUSE FOR FORFEITURE

5. Basler Kantonalbank (“BKB”), a financial institution headquartered in Switzerland,
entered into a Deferred Prosecution Agreement with the United States, wherein, inter alia, BKB
agreed to forfeit a total of 329,700,000.00 in United States currency, the Defendant Currency, to
the United States BKB agreed that the Defendant Currency is the substitute res for the proceeds
of BKB’s wire fraud offense The Deferred Prosecution Agreement, with the accompanying
Statement of Facts and Information, are attached and incorporated herein by reference, as
Composite Exhibit A.

j CLAIM FOR FORFEITURE

6. The allegations contained in paragraphs one through five of this Complaint are
incorporated by reference herein.

7. Title 18, United States Code, Section 981(a)(l)(C), subjects to forfeiture “[a]ny
property, real or personal, which constitutes or is derived from proceeds traceable to a violation
of. .. any offense constituting ‘specified unlawful activity’ (as defined in section 1956(0)(7) of this
title), or a conspiracy to commit such offense.”

8. “Specified unlawful activity” is defined in Title 18, United States Code, Section
1956(0)(7) to include any offense under Title 18, United States Code, Section 1961(1). Section
1961(1) lists, among others offenses violations of Title 18, United States Code, Section 1343 (wire

fraud).

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9. Based on the foregoing, the Defendant Currency is subject to forfeiture to the

United States of America pursuant to Title 18, United States Code, Section 981(a)(1)(C), as it is

l substitute res for property derived from Wire fraud, in violation of Title 18, United States Code,

Section 1343.

WHEREFORE, Plaintiff United States of America requests that process issue to enforce

the forfeiture of the Defendant Currency, and that all persons having an interest in the Defendant

Currency be cited to appear and show cause why the forfeiture should not be decreed, and that this

Court decree forfeiture of the Defendant Currency to the United States of America for disposition

according to law, and that this Court grant plaintiff such further relief as this court may deem just

and proper, together with the costs and disbursements of this action.

BENJAMIN G. GREENBERG
UNITED STATES ATTORNEY

/s/ Eloisa D. Fernandez

Eloisa Delgado Fernandez
Assistant United States Attorney
Florida Bar No. 0999768
eloisa.d.fernandez@usdoi.gov
U. S. Attorney’s Office

99 N.E. 4th Street, 7th Floor
Miami, Florida 33132
Telephone: (305) 961-9025
Facsimile: (305) 536-4089

Respectfully submitted,

RICHARD E. ZUCKERMAN

PRINCIPAL DEPUTY ASSISTANT
ATTORNEY GENERAL

TAX DIVISION

/s/Mark F. Dal
Mark F. Daly

Senior Litigation Counsel

Court ID No. A5501435
mark.f.daly@usdoj. gov

Tax Division 01 D Street NW ~ Room 7334
601 D Street NW _ Room 7334
Washington, DC 20004

Telephone: (202) 616-2245

Facsimile: (202) 616-1786

Jason Poole
Trial Attorney
Court ID No. A5501525

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VERIFICATION
Pursuant to Title 28, United States Code, Section 1746, I declare under penalty of perjury,
that I have read the foregoing Verified Complaint for Forfeiture In Rem and Composite Exhibit A,
and state that the facts alleged therein are true and correct to the best of my knowledge and belief`.
The sources of deponent’s information and the grounds of his belief are his personal
involvement in the investigation, and conversations with and documents prepared by law
enforcement officers and others

Executed this day of August, 2018.

 

Scott A. Johnson, Special Agent
United States Internal Revenue Service

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EXHIBIT 2

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRIC_T OF FLORIDA

CASE NO. CASE NO. 18-CR-60228-B100m

UNITED S'I`ATES OF AMERICA
v.
BASLER KANTONALBANK

Defendant

WAIVER OF INDICTMENT

Basler Kantonalbank, by and through _its attorneys, Skadden, Arps, Slate, Meagher &
Flom LLP, under authority granted by its Board of Directors, being advised of the nature of the
charge, the proposed information, and of its rights, hereby in accordance with the provisions of _
the Deferred Prosecution Agreement with the United States, waives prosecution by indictment
and consents to the filing of an lnformation charging it with one count of a violation of Title 18,
United States Code, Section 371, pursuant to paragraph 1 of the Deferred Prosecution
Agreement, dated August _, 2018.

BASLER KANTONALBANK
DEFENDANT `

By:
KEITH D. KRAKAUR
CHRISTOPHER J. GUNTHER
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Pro Hoc Vice [Motz`on Pending]

 

By:
DANIEL RASHBAUM,‘ ESQ.`
MARCUS, NEIMAN & RASHBAUM, LLP

 

